Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 1 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 2 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 3 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 4 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 5 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 6 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 7 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 8 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                          Document     Page 9 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 10 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 11 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 12 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 13 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 14 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 15 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 16 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 17 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 18 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 19 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 20 of 21
Case 10-26235   Doc 1   Filed 06/10/10 Entered 06/10/10 14:47:58   Desc Main
                         Document     Page 21 of 21
